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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

     IN RE: ZANTAC (RANITIDINE)                                                  MDL NO. 2924
     PRODUCTS LIABILITY LITIGATION                                                  20-MD-2924
                                                                    JUDGE ROBIN L. ROSENBERG
                                                                   MAGISTRATE JUDGE BRUCE E.
                                                                                    REINHART



    THIS DOCUMENT RELATES TO: ALL ACTIONS



     BRAND DEFENDANTS’ OPPOSITION TO VALISURE LLC’S MOTION TO QUASH
     AND FOR PROTECTIVE ORDER AND CROSS-MOTION TO COMPEL SUBPOENA
           COMPLIANCE, AND INCORPORATED MEMORANDUM OF LAW

           The Brand Defendants are seeking documents related to Valisure’s ranitidine testing,

    financial bias, relationship with plaintiffs’ attorneys and law firms, and political influence. As the

    Court has recognized: “The Valisure study and the scientific linkage between NDMA and

    ranitidine are vitally important issues in this litigation.” This discovery is proportional to the needs

    of the case, especially in light of the importance of this evidence and the Brand Defendants’ efforts

    to limit Valisure’s burden. The Brand Defendants have already voluntarily agreed to pay 50% of

    Valisure’s e-discovery technology vendor costs and reviewed metadata for all of the documents

    responsive to the search terms in order to reduce Valisure’s review burden by around one third.

           The undersigned Brand Defendants respectfully ask the Court to deny Valisure LLC’s

    motion to quash or for a protective order (including its request for costs) and to compel Valisure

    to: (1) produce all non-privileged documents identified through the parties’ agreed upon search

    terms (except those documents the Brand Defendants have already identified as not relevant based

    on its review of Valisure’s metadata hit report); (2) not withhold non-privileged documents based

    on “confidentiality” (as documents can be designated as confidential pursuant to PTO 26);


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    (3) include all email accounts or storage accounts used by Valisure officers or employees for work

    purposes in its collection (e.g., Valisure CEO’s personal Gmail account); and (4) produce a

    privilege log of all documents it contends are privileged or otherwise exempt from production.

                                               BACKGROUND1

                                        Valisure’s Ranitidine Campaign

              On September 13, 2019, online pharmacy Valisure made headlines by reporting to the U.S.

    Food & Drug Administration (FDA) in a citizen petition that it had “detected extremely high levels

    of N-Nitrosodimethylamine (‘NDMA’)” in ranitidine and by executing a coordinated press

    campaign about its findings.2 Beginning the very same day, lawsuits were filed around the country

    against manufacturers and retailers of ranitidine medications—including one filed by Valisure

    CEO David Light’s brother-in-law (a plaintiffs’ attorney)—directly relying on Valisure’s testing.3

    These lawsuits were eventually consolidated in this MDL.

              But Valisure’s story of “extremely high levels” of NDMA was false. Valisure generated

    these NDMA numbers by using a testing method that was never validated for testing for NDMA

    in ranitidine and that involved super-heating the sample to 130 C° / 266 F°.4 The super-heating


    1
      In addition to this Background section, Brand Defendants submit a chronology listing the events
    relevant to Valisure, attached as Exhibit 58. As this timeline shows, Valisure and other third
    parties have produced relatively few documents prior to Valisure filing its citizen petition that are
    relevant to its ranitidine testing, financial bias, relationship with plaintiffs’ attorneys and law firms,
    and political influence.
    2
     Valisure, Valisure Citizen Petition on Ranitidine, FDA Docket No. FDA-2019-P-4281 (dated
    Sept. 9, 2019, submitted Sept. 13, 2019), https://www.regulations.gov/docket/FDA-2019-P-4281,
    https://www.valisure.com/wp-content/uploads/Valisure-Ranitidine-FDA-Citizen-Petition-
    v4.12.pdf (“Valisure Citizen Petition”) (Exhibit 27).
    3
     See Complaint and Demand for Jury Trial, Galimidi v. Sanofi US Services, Inc., et al., No.
    132019CA027190000001 (Fla. 11th Cir. Ct. Sept. 13, 2019), removed to federal court, No. 1:19-
    cv-24395 (S.D. Fla) (Exhibit 28).
    4
        Valisure Citizen Petition at 6, n.8.


                                                        2
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    degraded the ranitidine molecule thereby creating the NDMA that Valisure “detected.” Valisure

    knew its test method was flawed long before it pushed its misinformation to the FDA and the

    public.5

              The FDA immediately responded to Valisure’s claims by announcing an investigation, but

    stated that it was “not calling for individuals to stop taking ranitidine at this time,” and explained

    that “[a]lthough NDMA may cause harm in large amounts, the levels the FDA is finding in

    ranitidine from preliminary tests barely exceed amounts you might expect to find in common

    foods.”6 Out of an abundance of caution, manufacturers and retailers recalled and stopped selling

    ranitidine medications in order to further investigate the potential NDMA contamination. A few

    weeks after receiving Valisure’s citizen petition, the FDA publicly criticized the testing method

    used by Valisure, stating that “the testing method used by a third-party laboratory [Valisure] uses

    higher temperatures . . . [which] generated very high levels of NDMA from ranitidine products

    because of the test procedure . . . [therefore this] method is not suitable for testing ranitidine

    because heating the sample generates NDMA.”7

              Valisure knew that its testing method produced artificially high levels of NDMA. Its

    citizen petition mentions that its “modest heating”—266 F°—may itself produce NDMA,8 but

    downplayed that possibility by stating that “other conditions that are designed to reflect those in



    5
        See, e.g., Email dated Apr. 1, 2019, EMERY 0122-40 (Exhibit 8).
    6
      FDA, FDA Statement: Statement Alerting Patients and Health Care Professionals of NDMA
    Found in Samples of Ranitidine (Sept. 13, 2019), https://www.fda.gov/news-events/press-
    announcements/statement-alerting-patients-and-health-care-professionals-ndma-found-samples-
    ranitidine.
    7
     FDA, FDA Updates and Press Announcements on NDMA in Zantac (ranitidine),
    https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announcements-
    ndma-zantac-ranitidine (Oct. 2, 2019 update) (Exhibit 34).
    8
        Valisure Citizen Petition at 3-4, 6-7.


                                                      3
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    the human body were also tested . . . reveal[ing] high NDMA levels.”9 However, that claim was

    seriously misleading, if not downright false. When Valisure tested ranitidine at body temperature,

    it found no NDMA.10 Similarly, its testing with industry-standard simulated gastric fluid and

    simulated intestinal fluid found no NDMA.11 It was only when Valisure treated the ranitidine

    sample with very high levels of sodium nitrite that it was able to “detect” any NDMA.12 Even

    then, the NDMA levels were only a small fraction of the NDMA levels from the high-temperature

    test method.13 And the high levels of sodium nitrite did not “reflect th[e conditions] in the human

    body”14—these levels were actually hundreds of times higher than the upper range of physiological

    conditions.15

               Valisure also omitted information from its petition that undermined its test results, despite

    certifying that it was not omitting any such information as required by federal regulations

    (21 C.F.R. § 10.30(b)(3)).16 Valisure failed to tell the FDA that it had retained Emery Pharma—a

    company it had retained to validate its results17—had reported to Valisure that, “the [very high]


    9
        Id. at 3-4.
    10
         Id. at 7.
    11
         Id.
    12
         Id.
    13
       Id. at 6-7. Of course, whether NDMA can form in the body after taking ranitidine is a separate
    issue from whether NDMA was already present in ranitidine (what the high-temperature testing
    purported to show).
    14
         Id. at 3-4.
    15
      See Gao Zongming, et al,, In Vitro Analysis of N-Nitrosodimethylamine (NDMA) Formation
    From Ranitidine Under Simulated Gastrointestinal Conditions, JAMA Netw Open. 2021 Jun
    1;4(6):e2118253, https://pubmed.ncbi.nlm.nih.gov/34181009/.
    16
      Valisure Citizen Petition at 18 (“The undersigned certifies that, to the best knowledge and
    belief of the undersigned, this petition includes all the information and views on which the
    petition relies, and that it includes representative data and information known to the petitioner
    which are unfavorable to the petition.”); see also 21 C.F.R. § 10.30(b)(3).
    17
         See id.; Emails dated Mar. 29, 2019, EMERY 0122-40 (Exhibit 8).


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    levels [of NDMA] obtained are suspected to be caused by the heating produced in this method.”18

    After the FDA publicly criticized Valisure’s flawed testing method, Emery noted internally that

    this “shows what happens when Valisure rushed to deliver                   ”19

             Valisure also claimed that its research was buttressed by a study by a Stanford professor

    that measured NDMA in urine after test subjects took ranitidine.20 Leaving aside that NDMA

    formation in the stomach is a separate issue from whether excess amounts of NDMA were present

    in ranitidine products (Valisure’s claim), Valisure did not disclose to the FDA that it had retained

    the primary author of that study as a consultant or that it knew the results were obtained using the

    same faulty high-temperature method used by Valisure (the study was later retracted).21

             To date, Valisure has never withdrawn its citizen petition or publicly admitted that its

    ranitidine testing was flawed and inaccurate. In fact, after being rebuked by the FDA, Valisure




    18
      Confidential Report (R&D) by Emery Pharma, EMERY 0151-0153 (emphasis added)
    (Exhibit 20).
    19
         See Email dated Dec. 5, 2019, EMERY 1879-80 (emphasis added) (Exhibit 45).
    20
       Valisure Citizen Petition at 10-11 (citing T. Zeng and W. Mitch, Oral intake of ranitidine
    increases urinary excretion of N-nitrosodimethylamine, 37 CARCINOGENESIS 625-634 (2016),
    https://www.ncbi.nlm.nih.gov/pubmed/26992900).
    21
      See Email dated Mar. 27, 2019 MITCH001081-82; VAL-1104-05 (David Light contacting
    Drs. Mitch and Zeng) (Exhibit 7); Confidentiality Agreement between Valisure and Dr. William
    Mitch, MITCH 000004-09 (Exhibit 10); Email dated Apr. 19, 2019, MITCH 001080 (David
    Light emailing Dr. Mitch discussing potential methodological flaw in Dr. Mitch’s ranitidine
    urine study) (Exhibit 12); Emails dated Apr. 12, 17, 18, and 19, 2019, MITCH 01115-18 (David
    Light communicating with Dr. Mitch and others about ranitidine research and Dr. Mitch’s
    consulting role) (Exhibit 11); Emails dated Apr. 30 and May 1, 2019, VAL 01050-51 (Dr. Mitch
    sending David Light a draft correction to the publisher of his ranitidine urine study because of a
    methodological flaw) (Exhibit 15); Draft Correction Letter from Dr. William Mitch to Dr. Curtis
    Harris, Chief Editor, Carcinogenesis (Apr. 29, 2019), VAL 01116-17 (Exhibit 15); Retraction to:
    Oral intake of ranitidine increases urinary excretion of N-nitrosodimethylamine, 42(7)
    CARCINOGENESIS 1008 (advanced publication May 4, 2021) (Exhibit 47).


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    continued to push its misinformation in the press22 and even attempted to get it published in peer-

    reviewed journals.

              Valisure also continued lobbying to get public officials to pressure the FDA to take action

    on ranitidine based on Valisure’s false and misleading testing information. For example, less than

    a week after filing its citizen petition, David Light and Michael Bretholz visited the chair of the

    U.S. House of Representatives Energy and Commerce Committee, Subcommittee on Health, who

    in turn sent a letter to the FDA about ranitidine a few days later.23 A few months later, Valisure

    took another lobbying trip (set up by its lobbyist) to meet with about a dozen members of Congress

    to discuss ranitidine.24

                                           Valisure’s Business Model

              Valisure’s flawed science should come as no surprise given its cozy relationship with the

    plaintiffs’ bar. Valisure receives funding from plaintiffs’ attorneys and had discussions with

    plaintiffs’ firms prior to filing its citizen petition.25

              Valisure’s conduct with regard to ranitidine reflects its modus operandi, which is:

    (1) identify a widely used drug or consumer product to test; (2) upon finding (or manufacturing)

    any adverse outcome, file a citizen petition with the FDA asking it to take the product off the

    market; (3) run a media and lobbying campaign to publicize its test results—all of which are often




    22
      See,e.g., Email dated Sept. 14, 2019, MSK00009784-85 (Valisure CEO had interviews with
    the New York Times, Wall Street Journal, Reuters, CNBC, Bloomberg Radio, NBC, and USA
    Today the day after the ranitidine citizen petition) (Exhibit 29).
    23
      Emails dated Sept. 19, 20, 2019, MSK00009801-02; MSK00009829-30, MSK00009833-34
    (Exhibit 30); Anna Edney, Generic Zantac is Recalled from Major U.S. Pharmacies after
    Carcinogen is Found in Pills, L.A. Times (Sept. 26, 2019) (Exhibit 31).
    24
         See Emails dated Dec. 15, 2019, MSK00010262-64 (Exhibit 46).
    25
         See Exhibit 11 to Valisure’s Brief.


                                                          6
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    done in coordination or consultation with plaintiffs’ attorneys; and (4) numerous lawsuits are filed,

    often by attorneys that have coordinated or communicated with Valisure.

              For example, mere months after Valisure formed, it published an article claiming that

    rapid-release acetaminophen gel caps actually dissolve slower than regular acetaminophen gel

    caps.26 And on the same day that Valisure issued a press release about its findings,27 a class action

    lawsuit was filed against a manufacturer of rapid-release acetaminophen gel caps.28 Court filings

    show that, despite plaintiffs portraying Valisure’s testing as an independent study and Valisure

    initially denying any relationship with the plaintiffs’ attorney, the attorney had retained Valisure

    as a consultant months before the study was published.29 Plaintiffs were eventually required to

    turn over communications with Valisure to the defendant.30 The court in that case noted that “the

    study [by Valisure] may not have been independent, given the possible relationship between the

    authors of the study and [plaintiff’s] counsel.”31 Following a similar pattern, Valisure recently

    filed a citizen petition and announced that it had detected the chemical benzene in various body

    spray products. The very same day that Valisure announced its findings, a class action was filed


    26
       Kaury Kucera et al., Rapid and Fast-Release Acetaminophen Gelcaps Dissolve Slower Than
    Acetaminophen Tablets, KENKYU OPEN ACCESS PUBLISHERS, Dec. 11, 2018,
    https://www.kenkyugroup.org/images/articles/cbd4b1c4680cdfd6e16e3f8ecdc39b6b.pdf.
    27
       Valisure, Scientific Study Reports That On Average Rapid-Release Acetaminophen Gelcaps
    Dissolve Slower Than Standard-Release Tablets (Cision PR Newswire Nov. 15, 2018),
    https://www.prnewswire.com/news-releases/scientific-study-reports-that-on-average-rapid-
    release-acetaminophen-gelcaps-dissolve-slower-than-standard-release-tablets-300750824.html
    (Exhibit 3).
    28
      See Class Action Complaint, Bailey v. Rite Aid Corporation, Docket No. 1, No. 3:18-cv-6926
    (N.D. Cal. Nov. 15, 2018) (Exhibit 4).
    29
      See Letter Brief at 2, Bailey v. Rite Aid Corporation, Docket No. 94, No. 3:18-cv-6926 (N.D.
    Cal. Oct. 20, 2020) (Exhibit 2).
    30
      See Order, Bailey v. Rite Aid Corporation, Docket No. 104, 2020 WL 6789435, No. 3:18-cv-
    6926 (N.D. Cal. Nov. 18, 2020) (Exhibit 5).
    31
         See id. at *2.


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    the brother-in-law (a plaintiffs’ attorney) of Valisure CEO David Light against a body spray

    manufacturer, relying on Valisure’s testing.32

              Valisure’s ranitidine campaign is no different (and involves the same sequence and many

    of the same players). While Valisure has not produced documents showing the full extent of its

    communications and coordination with third parties and public officials regarding ranitidine, the

    Brand Defendants have learned through discovery obtained from other third parties that a key

    player in coordinating Valisure’s ranitidine testing and citizen petition was plaintiffs’ class action

    attorney Gregory Frank.33 Having a plaintiffs’ attorney direct the Valisure testing and citizen

    petition that triggered a mass tort litigation based on Valisure’s purportedly “independent” testing

    is an obvious conflict of interest that suggests that Valisure may have intentionally skewed the

    science.

              Valisure also received millions more dollars than ever before in investments after its

    ranitidine citizen petition.34 Discovery regarding to Valisure’s financial motives, financial bias,

    and false and misleading PR and lobbying campaign is relevant and proportional to the needs of

    this case.

              Finally, the flaws in Valisure’s ranitidine testing are sadly not unique. In 2021, the FDA

    inspected Valisure’s facilities and cited it for numerous violations.35 The FDA found that Valisure

    consistently failed to validate and verify its analytical methods and failed to properly qualify its


    32
       Valisure, Valisure Detects Benzene in Body Spray Products (Nov. 4, 2021),
    https://www.valisure.com/blog/valisure-news/valisure-detects-benzene-in-body-spray-products/;
    Class Action Complaint, Bryski v. The Proctor & Gamble Co., No. 0:21-cv-62285 (S.D. Fla.
    Nov. 4, 2021) (filed by attorney Yitzhak Levin).
    33
     Email dated Apr. 19, 2019, MITCH001115-18 (Exhibit 11); Email dated May 2, 2019,
    MITCH000557-60 (Exhibit 16); Email dated May 8, 2019, MITCH001086-90 (Exhibit 17).
    34
         Valisure S.E.C. filings (Exhibit 37).
    35
         Form 483 for Valisure, LLC (May 26 to July 6, 2021) (Exhibit 54).


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    equipment, and found that Valisure’s “laboratory investigations are inadequate.”36 Nevertheless,

    Valisure still publicly touts itself as being registered with the FDA.37

                            Valisure Third-Party Discovery: Procedural History

               In June 2020, Sanofi issued a document subpoena to Valisure. Several months later,

    Valisure produced some documents. But additional discovery from other third parties later showed

    that Valisure had failed to produce a significant number of responsive documents. So in June

    2021, Boehringer Ingelheim (“B.I.”) issued an additional subpoena to Valisure. Valisure and the

    Brand Defendants began negotiating the issues of cost and search terms in August 2021. Valisure

    eventually produced a detailed hit report with document metadata based on agreed upon search

    terms in November 2021. The Brand Defendant GSK quickly reviewed the metadata hit report

    (attached as Exhibit 57) in its entirety (despite extensive redactions of non-privileged information)

    and identified documents that were not relevant, thereby reducing the number of documents for

    Valisure to review by about one-third. The parties then engaged in several meet and confer

    meetings with Special Master Jaime Dodge, but were unable to resolve all of the issues in dispute.

    A more detailed explanation of the procedural history is set forth in the Brand Defendants’ letter

    to Valisure dated December 20, 2021, attached as Exhibit 56.

                                               ARGUMENT

    I.         EVIDENCE RELATED TO VALISURE’S RANITIDINE TESTING AND ITS
               FINANCIAL BIAS ARE RELEVANT AND IMPORTANT IN THIS LITIGATION.

               Valisure’s testing, lobbying, and publicity campaign is the ground zero of this entire

    litigation. As this Court has correctly recognized when deciding a discovery issue related to Dr.


    36
         Id.
    37
      E.g., Valisure, Valisure Citizen Petition on Benzene in Body Spray Products at 4 (Nov. 3,
    2021), https://www.valisure.com/wp-content/uploads/Valisure-FDA-Citizen-Petition-on-Body-
    Spray-v4.0-1.pdf.


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    Adam Bretholz, “The Valisure study and the scientific linkage between NDMA and ranitidine are

    vitally important issues in this litigation. The origins and motivation of the study, including

    when and how Dr. Bretholz suspected a linkage and Dr. Bretholz’s financial relationship with

    Valisure, is important to the resolution of this issue.”38

             Almost every ranitidine complaint—from the very first ranitidine lawsuit filed39 to the

    current operative Master Complaint expressly cite and rely on Valisure’s ranitidine testing. Even

    if Plaintiffs may have other scientific evidence they intend to rely on, Valisure’s testing remains

    an important part of Plaintiffs’ case and this litigation.

             Not only is Valisure’s “science” part of Plaintiffs’ case, but the broader narrative of an

    “independent” testing pharmacy discovering and blowing the whistle on very high levels of

    NDMA in ranitidine is key to Plaintiffs’ story. Conversely, Defendants are entitled to evidence to

    show that this litigation was manufactured through a well-coordinated campaign to create and

    disseminate false and misleading information through Valisure’s testing, which was funded and

    influenced by third party groups and the plaintiffs’ bar.

             The importance of the Valisure evidence is the most important proportionality factor and

    weighs strongly in favor of the Brand Defendants.

    II.      DEFENDANTS CANNOT EVALUATE VALISURE’S PRIVILEGE CLAIMS
             WITHOUT A PRIVILEGE LOG.

             Rule 45(e)(2)(A) requires third parties withholding information from a subpoena response

    based on privilege to “expressly make the claim” and “describe the nature of the withheld

    documents [or] communications . . . in a manner that, without revealing information itself


    38
         Order on Motions for Letters Rogatory at 4, ECF No. 4481 (Oct. 27, 2021) (emphases added).
    39
      Complaint and Demand for Jury Trial, Galimidi v. Sanofi US Services, Inc., et al., No.
    132019CA027190000001 (Fla. 11th Cir. Ct. Sept. 13, 2019), removed to federal court, No. 1:19-
    cv-24395 (S.D. Fla) (Exhibit 28).


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    privileged or protected, will enable the parties to assess the claim”—in other words, make a

    privilege log.

           Valisure’s privilege claims must be properly supported with a privilege log. For example,

    Valisure investor and business consultant Michael Bretholz is also an attorney. Although he does

    not work in a law firm or in a legal job, he maintains an active attorney license. Valisure contends

    that some communications involving Bretholz constitute privileged legal advice. But as Plaintiffs

    in this MDL have argued, “the mere fact that an attorney is present at a meeting or is copied on a

    document does not in and of itself afford privilege protection to such a meeting or document.”40

    It is clear that not all communications involving Bretholz are privileged—many are not.

    Productions from other parties indicate that Bretholz helped raise awareness for Valisure’s citizen

    petition by communicating and meeting with influential officials that included White House staff,

    Department of Justice counsel, and multiple members of Congress.41 These meetings led to

    correspondence with the FDA from influential policy makers duplicating Valisure positons.42

    Without a privilege log, the Brand Defendants cannot reasonably determine the veracity of

    individual claims of privilege.

           Additionally, given Valisure’s false and misleading statements and omissions to the FDA,

    the public, and others (in violation of 21 C.F.R. § 10.30(b)(3) as to the FDA), it is possible


    40
      Pls.’ Opp. To Defs. Sanofi US Services, Inc., Sanofi-Aventis U.S. LLC, and Chattem, Inc.’s
    Mtn. to Compel the Return or Destruction of Privileged Docs. and Incorporated Mem. Of Law at
    8-9, ECF No. 3698 (June 24, 2021) (quoting In re Seroquel Products Liab. Litig., Case No. 6:06-
    md-1769, 2008 WL 1995058 at *2 (M.D. Fla. May 7, 2008)).
    41
      See Email dated May 8, 2019, MSK00009555-58 (Exhibit 19); Emails dated Sept. 19, 20,
    2019, MSK00009801-02; MSK00009829-30, MSK00009833-34 (Exhibit 30); Emails dated Dec.
    15, 2019, MSK00010258-61 (Exhibit 46).
    42
      See Email dated Dec. 18, 2019, MSK00010262-64 (Exhibit 47); Letter dated Dec. 18, 2019
    (Exhibit 48); Edney, Generic Zantac is Recalled (mentioning letter by Rep. Eshoo to FDA)
    (Exhibit 31).


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    exceptions to the attorney-client privilege could apply to some communications, if those

    communications are indeed privileged. However, it is impossible for the Brand Defendants to

    evaluate this possibility without a privilege log.

           Finally, in Valisure’s metadata hit report (a hit report with metadata, such as email subject

    lines, for each document responsive to the search terms), it redacted numerous fields based on

    “confidentiality” for documents it does not claim are privileged—including documents that

    appeared to be highly relevant to the issues in this litigation. Valisure can designate non-privileged

    documents as confidential pursuant to PTO #26, which will adequately protect any legitimate

    confidentiality interests it may have, but it cannot simply withhold those highly relevant

    documents from production.

    III.   DEFENDANTS SHOULD NOT BEAR ANY ADDITIONAL COSTS FOR
           VALISURE’S PRODUCTION.

           The Brand Defendants have voluntarily agreed to pay half of Valisure’s e-discovery

    technology vendor capped costs. Because Valisure is not an innocent bystander, but played a key

    role in the events initiating this litigation, it should bear its remaining costs of document review

    and production.

           Rule 45(d)(1) requires parties to “take reasonable steps to avoid imposing undue burden or

    expense on a person subject to the subpoena.” “The intention of the rule ‘is to protect disinterested

    non-parties from incurring significant expense in complying with a subpoena in a case for which

    they have no interest.’” In re Altisource Portfolio Sols., S.A. Sec. Litig., No. 14-81156-CIV, 2016

    WL 6917231, at *2 (S.D. Fla. Nov. 10, 2016) (quoting Sun Capital Partners, Inc. v. Twin City

    Fire Insurance Co., 2016 WL1658765, *7 (S.D. Fla., Apr. 26, 2016)). In determining whether,

    and if so, how much cost to shift to a requesting party, courts consider factors such as “1) whether

    the non-party actually has an interest in the outcome of the case, 2) whether the non-party can



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    more readily bear its cost than the requesting party, and 3) whether the litigation is of public

    importance.” Id.

           Importantly, a non-party is considered “interested” for purposes of cost shifting where “it

    was substantially involved in the underlying transaction, and should have reasonably

    anticipated being drawn into subsequent litigation.” In re Seroquel Prod. Liab. Litig., 2007 WL

    4287676, at *3 (M.D. Fla. Dec. 6, 2007) (quoting In re First Am. Corp., 184 F.R.D. 234, 241-42

    (S.D.N.Y.1998)). “When a party from whom documents are sought is not a classic disinterested

    non-party, . . . the court can order that the non-party produce the documents at its own expense.”

    Id.

           The Seroquel litigation illustrates this principle.        In that case, plaintiffs sued a

    pharmaceutical company for its marketing of the drug Seroquel. Plaintiffs sought discovery from

    a third-party vendor that had done marketing work for the manufacturer regarding Seroquel. The

    vendor asked the court to require plaintiffs to reimburse it for its discovery costs. The court found

    that the vendor was not a “classic disinterested non-party” because of its relationship to the facts

    underlying the litigation: “It should come as no surprise to [the vendor] that market research work

    it did for Seroquel would be relevant to Plaintiffs’ claims and [the vendor] should have reasonably

    anticipated being involved in the discovery process of subsequent litigation concerning the

    marketing/prescribing behavior it studied for Seroquel.” Id. at *4 (emphasis added).

           So too here. Valisure laid the groundwork for this litigation. It actively created and

    aggressively publicized false and misleading testing information. It had at least one plaintiffs’

    attorney assist in coordinating its ranitidine campaign. Valisure has received significant funding

    from, and had extensive communications with, plaintiffs’ attorneys.            It has a history of

    coordination with plaintiffs’ attorneys to prepare lawsuits in advance of its science being made




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    public, and Valisure appears to have done so in this litigation. Like in Seroquel, Valisure “should

    have reasonably anticipated being involved in the discovery process of subsequent litigation

    concerning” its science and the financial bias behind it. Id.

           The Brand Defendants have also taken reasonable steps to minimize Valisure’s burden.

    First, they have voluntarily agreed to pay for half of Valisure’s capped e-discovery technology

    vendor fees. Second, they have proposed reasonable search terms targeted at relevant information.

    And third, they have spent a considerable number of attorney hours reviewing Valisure’s metadata

    hit report in order to identify irrelevant documents, thereby reducing the number of documents for

    Valisure to review by about one-third. In light of these efforts and the fact that Valisure is not a

    disinterested “classic third party,” the Brand Defendants should not have to bear any additional

    costs for Valisure’s subpoena compliance.

                                             CONCLUSION

           For the reasons set forth above, the Brand Defendants respectfully ask that the Court deny

    Valisure LLC’s motion to quash and compel Valisure to: (1) produce all non-privileged documents

    identified through the parties’ agreed upon search terms (except those documents the Brand

    Defendants have already identified as not relevant based on its review of Valisure’s metadata hit

    report); (2) not withhold non-privileged documents based on “confidentiality” (as documents can

    be designated as confidential pursuant to PTO 26); (3) include all email accounts or storage

    accounts used by Valisure officers or employees for work purposes in its collection (e.g., Valisure

    CEO’s personal Gmail account); and (4) produce a privilege log of all documents it contends are

    privileged or otherwise exempt from production. The Court should also deny Valisure’s request

    to have the Brand Defendants bear additional costs (i.e., attorney document review costs) beyond

    the 50% of e-discovery technology vendor costs they have already voluntarily agreed to pay.




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